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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination CLERK US DISTRICT C gO RT
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BY DEPUTY
UNITED STATES DISTRICT COURT
for the
District of
Division
a -DMF
y —— ) Case No. cVv21-01693-PHX-DM
Kropap. C. US pA ) (to be filled in by the Clerk’s Office)
| (USinA- ?
Plaintiff(s) ) :
(Write the full name of each plaintiff who is filing this complaint. 4,
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) [Xlves [_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
-y- )
)
)
.
Pauw Lunversrty Medica ( Cevitar (plsx'
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )

write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name KPOBARI C TUS IMA
Street Address 95 6 Z oF Ww Fou cho 4) AVE

 

 

 

 

City and County BUCK LY e Marx Copa

State and Zip Code AYL Bod. és Z6.

Telephone Number bo a Lt 6 By "2

E-mail Address p A tim ck. C (enw (4 (4 isel: COW?

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (f/known). Attach additional pages if needed.

Page 1 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 2 of 9

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

Defendant No. 1

Name Patina (hima Medical Counter Phoom,

 

 

 

 

 

Job or Title (ifknown) Re

Street Address 4 Ad. E M C howe Uf Raf

City and County D ot MV ye peg

State and Zip Code Ari LOVLA 4500 G
Telephone Number , bh e2. $429 2000

 

E-mail Address (ifknown)

 

Defendant No. 2

Name ALL Le

Lr vd
Job or Title (ifknown) (
Street Address

 

 

City and County
State and Zip Code

 

 

Telephone Number

 

E-mail Address (if/known)

Defendant No. 3
Name NV, AL

Job or Title (@fknown) “ ¢
Street Address
City and County

 

 

 

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

Defendant No. 4
Name WV yj ae
€

Job or Title (ifknown)

 

 

Street Address
City and County
State and Zip Code

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Page 2 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 3 of 9

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination
Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Pau wo ob Miniter So ty Me deel Con i ar p Lope y
Street Address 1 1A 4 Fe Mf ° Neunte.{ (¢ Rd

 

 

 

City and County plyomim x Maa Co pa

State and Zip Code \ Ae % SOO C

Telephone Number 4 oF BSG Dfltfpey
I. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

q
A Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission. )

[ | Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

[| Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

L

Other federal law (specify the federal law):

 

L

Relevant state law (specify, if known):

 

L

Relevant city or county law (specify, if known):

 

Page 3 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 4 of 9

Pro Se 7 (Rev, 12/16) Complaint for Employment Discrimination

WH.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.
Retaliation.

Other acts (specify):

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

OOX ORM

 

 

 

 

 

 

 

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
JrLivews 04 (20, [2020- _u/ [2/: 2O20
C. I believe that defendant(s) (check one):
[| is/are still committing these acts against me.
[| is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
x race
Pa color
gender/sex
[ | religion
RI national origin Nis igen un Dob “7 Cl tLA-S Cte de>
age (vear of birth) (only when asserting a claim of age discrimination.)
| disability or perceived disability (specify disability)

 

E. The facts of my case are as follows. Attach additional pages if needed.

Page 4 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 5of9

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

 

   

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (daie)

o At
B. The Equal Employment Opportunity Commission (check one):
L] has not issued a Notice of Right to Sue letter.
i issued a Notice of Right to Sue letter, which I received on (date)
(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)
Cc. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

[| 60 days or more have elapsed.
LJ less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

Page 5 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 6 of 9

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

VIL

 

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonftivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:
a

 

é

Signature of Plaintiff 4) Yoarrrranne SLAM Lets
Printed Name of Plaintiff ) C. “Tit S/ Nii Ot

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

Page 6 of 6
Case 2:21-cv-01693-DMF Document1 Filed 10/05/21 Page 7 of 9

 

OFFICE OF THE ARIZONA ATTORNEY GENERAL
CIVIL LITIGATION DIVISION

 

MARK BRNOVICH DIVISION OF CIVIL RIGHTS SECTION REBEKAH BROWDER
ATTORNEY GENERAL CHIEF COUNSEL
NOTICE OF RIGHT TO SUE
Kpobari Tusima vy. Banner University Medical Center
CRD No.: CRD-2021-0152 EEOC No.: 35A-2021-00198

On 02/10/2021, you filed a charge with the Division of Civil Rights Section alleging
employment discrimination. Arizona law provides that you may bring a civil action in
Superior Court of the county where the alleged discriminatory action took place. Should you
decide to file a civil action, you must do so within 90 days of the date you receive this Notice
or within one year of the date you filed the charge, whichever comes first. A.R.S. 41-

1481(D.)

This Notice of Right to Sue letter is being issued because:

this office has made a final determination or has otherwise completed its processing of
your charge and will be taking no further action.

If you have any questions concerning this notice, please contact us at 602-542-5263 or toll
free at 1-877-491-5742. If you need legal assistance, you should seek the advice of an

attorney.
Let See $bo—

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SZ -

ephen ee Manager
ent by regular mail this day of August 2021

CC: Banner University Medical Center c/o Lindsay Fiore

 

 

  
  

2005 NorTH CENTRAL AVENUE, PHOENIX, AZ 85004 © 602.542.5263
400 West CONGRESS, SOUTH BUILDING, SUITE S-315, TUCSON, AZ 85701 © 520.628.6500
WWW.AZAG.GOV
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V. Relieh Prem page 5

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